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 NEWS      EXCLUSIVE


House Judiciary Committee to hold NYC
hearing with ‘victims’ of DA Alvin Bragg’s
policies
By Steven Nelson                                                                   April 10, 2023   8:05am   Updated




                                                                                                             LOG IN




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                                             WASHINGTON — The House Judiciary Committee will hear from
    MORE ON:                                 “victims” of Manhattan District Attorney Alvin Bragg’s policies
    ALVIN BRAGG                              during a hearing in New York next week — escalating a
                                             confrontation with the progressive prosecutor over his
    New poll reveals how Americans           unprecedented criminal case against former President Donald
    now feel about Trump’s
    indictment in Stormy hush-               Trump, The Post has learned.
    money case
                                             The “field hearing” will be held at 9 a.m. Monday, April 17, at the
    Left & right love age of rage,           Jacob Javits Federal Building just blocks from Bragg’s Lower
    ‘political malpractice’ on
                                             Manhattan office and the courthouse where Trump, 76, was
    entitlements and other
    commentary
                                                   arraigned on 34 felony counts of falsifying business records last
     Bragg case against
                   CaseTrump     is
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     ‘abuse of power,’ gift to Dems:         week.
     Ex-AG Bill Barr
                                                   A source told The Post that the hearing will examine “New York’s
     Ultra-rich have influence over                rampant crime and victims of Alvin Bragg.”
     our government . . . no, not that
     one
                                                   Republicans have slammed Bragg as being soft on conventional
                                                   crime while embracing a novel legal theory to bring the first-ever
                                                   criminal case against an ex-president.

It’s unclear if committee Chairman Jim Jordan (R-Ohio) will invite Bragg, but a source told The Post the move
hasn’t been ruled out.

The source said that “victims” of Bragg’s “failure to prosecute” are expected to be witnesses, though they were
not immediately able to share the expected witness list.

Before pursuing the indictment against Trump, Bragg, an elected Democrat, downgraded the severity of
charges against many offenders.




The source said that “victims” of Manhattan DA Alvin Bragg’s “failure to prosecute” are expected to be witnesses at the hearing,
though they were not immediately able to share the expected witness list.
J Mayer/Shutterstock
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Bragg has been investigating former President Donald Trump in connection with his alleged role in a hush-money scheme.
John Nacion/UPI/Shutterstock
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Bragg has refused to comply with document requests from three House committees relating to the “politically motivated” Trump
case.
John Angelillo/UPI/Shutterstock


From Jan. 1, 2022, when he took office, through late November, Bragg downgraded 52% of felony cases to
misdemeanors, The Post reported.

When felony charges were brought, his office won a conviction just 51% of
the time. Both percentages were lower than in comparable recent years.
                                                                                              SEE ALSO
Bragg also took heat last year for charging bodega clerk Jose Alba, then 61,
with second-degree murder after the worker fatally stabbed an ex-con who
                                                                                                               Half of
                                                                                                               Americans
attacked him inside the store.                                                                                 believe
                                                                                                               Trump
Bragg’s office dropped the case in July, but only after a national outcry.                                     deserved
                                                                                                               to be
                                                                                                               indicted in
Bragg has refused to comply with document requests from three House                                            Stormy
committees relating to the “politically motivated” Trump case, including                                       Daniels
                                                                                                               hush-
regarding interactions with the Justice Department — with the DA describing                                    money
the request as improper meddling in a criminal matter and one of his aides                                     case: poll
even hanging up on a Judiciary Committee staffer after telling them to “stop
calling us with this bulls–t.”
Last week, Jordan subpoenaed attorney Mark Pomerantz, who wrote a book calling for Trump’s prosecution
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after resigning from Bragg’s office in protest of an earlier decision by the district attorney not to move forward
with a different financial crimes prosecution.

The DA charged Trump, the front-runner for the 2024 Republican presidential nomination, for allegedly not
accurately describing on internal company records hush-money payments made in the lead-up to the 2016
election.




Bragg downgraded 52% of felony cases to misdemeanors.
ZUMAPRESS.com/Nancy Kaszerman


The charge ordinarily would be a misdemeanor in New York — but it can be upgraded to a felony if there is
intent to conceal or commit another crime.

In this case, that other crime apparently is campaign finance violations, though Bragg has been coy about what
exactly the alleged underlying crime was.
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                                 83    What do you think? Post a comment.



Federal candidates are allowed to spend unlimited amounts of money on their own campaigns, but then-Trump
fixer Michael Cohen, who was reimbursed by Trump, would have exceeded the contribution limit if he used his
own money to pay $130,000 to porn star Stormy Daniels and $150,000 to Playboy model Karen McDougal,
whose story was purchased by the National Enquirer in a “catch and kill” scheme.

The DOJ previously chose not to prosecute Trump at the time of Cohen’s guilty plea to charges including
campaign finance violations and tax evasion in August 2018.


 FILED UNDER      ALVIN BRAGG, DONALD TRUMP, HOUSE JUDICIARY COMMITTEE, INDICTMENT, TRUMP,
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